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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

EDWARD SCOTT, and DEBBIE                 )
RICHARDS, on behalf of                   )
themselves and all                       ) CIVIL ACTION FILE NO.
others similarly situated,               )       5:19-cv-22-LGW-BWC
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )
                                         ) For Violations of the Fair Labor
NORTH AMERICAN INNS, LLC,                ) Standards Act of 1938, As Amended
SHARMA HOSPITALITY, LLC,                 )
and SHAUN B. SHARMA,                     )
                                         )
      Defendants.                        )



          JOINT MOTION FOR EXTENSION OF DEADLINES AND
                          DISCOVERY PLAN

       Pursuant to Federal Rule of Civil Procedure 16(b)(4), Plaintiffs Edward

 Scott and Debbie Richards (“Plaintiffs”) and North American Inns, LLC, Sharma

 Hospitality, LLC, and Shaun B. Sharma (“the Defendants”) in the above-captioned

 case, by counsel, respectfully move the Court to enter the attached Agreed Order

 modifying the current deadlines previously ordered by the for:
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(1) the close of discovery; and (2) dispositive motions.

Close of Discovery

      The Parties request that the Court modify the current schedule to require that

the close of discovery is December 13, 2019.

Dispositive Motions

      The Parties request that the Court modify the current schedule to require that

dispositive motions be filed by January 13, 2019. The Parties request that the Court

modify the current schedule to require deadline for responses and replies of

dispositive motions be set for February 3, 2020.

In support of this Motion, the Parties state as follows:

       1.   Rule 16(b)(4) allows for the modification of a court’s scheduling order

“for good cause and with the judge’s consent.” The touchstone of good cause und

Rule 16(b) is diligence. Bowers v. American Heart Ass’n, 513 F. Supp.2d 1364, 1367

(N.D. Ga. 2007)

       2.   Here, the Parties have been working together diligently and

cooperatively to complete discovery and proceed with termination of discovery

according to the Court’s Scheduling Order. Nonetheless, delays in discovery and

limitations on the availability of the Parties require them to request an extension to

the current schedule.
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       3.   On November 4, 2019 Defendants Shaun Sharma and Paul Sharma

suffered the loss of their brother who passed away in Texas. Defendants attended

the funeral commemorated pursuant to Indian tradition, consisting of two weeks of

mourning. Defendants anticipate they will return to Georgia on November 21 and

will then be able to resume discovery and take the depositions of all parties. All

deposition had been scheduled during their two-week absence.

       4.   Plaintiff’s counsel has agreed to extend the discovery deadline two

weeks, in order to accommodate Defendants’ schedule.

       5.   In addition, counsel for the Parties are continuing to work cooperatively

to determine the extent to which Defendant have in their possession data and

documents Plaintiffs have requested. As a result, the discovery process is taking

longer than anticipated.

       6.   Accordingly, the Parties seek to move the discovery schedule back by

14 days, and to adjust the resulting deadlines accordingly.

       7.   Granting the Parties’ request would result in modifying the current

schedule as follows:

     DESCRIPTION                  CURRENT                     PROPOSED
                                  DEADLINE                    EXTENSION
 WRITTEN                    November 30, 2019          December 13, 2019
 DISCOVERY
 PROCEDURE
  Case 5:19-cv-00022-LGW-BWC Document 20 Filed 11/15/19 Page 4 of 9



DISCOVERY             November 30, 2019      December 13, 2019
DEPOSITIONS


POST                  December 5, 2019       December 19, 2019
DISCOVERY
STATUS
REPORT
DISCOVERY             December 10, 2019      December 24, 2019
STATUS
CONFERENCE
LAST DAY              December 15, 2019      January 13, 2020
FOR FILING
ALL CIVIL
MOTIONS
INCLUDING
DAUBERT
DEPOSITION            December 11, 2019      December 11, 2019
OF ALL
WITNESSES
TAKEN NOT
FOR
DISCOVERY
BUT FOR USE
AT TRIAL
PRE TRIAL             February 10, 2020      February 24, 2020
ORDER DUE
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      All other deadlines in the Parties’ Joint Preliminary Report and Discovery

Plan would remain the same.


      For this good cause shown, the Parties respectfully request that the Court

enter the attached Consent Order modifying the close of discovery, and dispositive

motions deadlines.


Respectfully submitted this November 15, 2019.




 By: /s/ Howard P. Slomka                          By: /s/ Tyler Kaspers________
 Georgia Bar #652875                               Georgia. Bar No. 445708
 Busch, Slipakoff, Mills & Slomka, LLC             Kasper & Associates LLC
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 Atlanta, GA 30339                                 Macon, GA 31201
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 Counsel for Defendants                            Counsel for Plaintiffs
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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 15, 2019 I filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification to all

counsel of record in this case.



                                  /s/ Howard P. Slomka
                                  Counsel for Defendants
                                  Busch, Slipakoff, Mills & Slomka, LLC
                                  3350 Riverside Parkway. Suite#2100
                                  Atlanta, GA 30339
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                              WAYCROSS DIVISION

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and SHAUN B. SHARMA,                     )
                                         )
      Defendants.                        )



     AGREED ORDER GRANTING THE PARTIES’ JOINT MOTION FOR
        EXTENSION OF DEADLINES IN JOINT DISCOVERY PLAN

       THIS MATTER came to be heard upon the Parties’ Joint Motion for

 Extension of Deadlines in the Parties’ Joint Discovery Plan
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      UPON CONSIDERATION WHEREOF AND FOR GOOD CAUSE

SHOWN, it is hereby:

      ORDERED that the close of discovery is December 13, 2019.

      ORDERED dispositive motions be filed by January 13, 2020; the deadline

for responses to dispositive motions is January 31, 2020.

ENTERED this                          day of                      , 2019.




                                      UNITED STATES DISTRICT JUDGE


Date: November ___, 2019.


SEEN AND AGREED:

By: /s/ Howard P. Slomka
Counsel for Defendants
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